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 9
   Attorneys for Federal Defendants and
10 Defendant United States of America.

11
                           UNITED STATES DISTRICT COURT
12               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13   CALIFORNIA COALITION FOR WOMEN                   Case No. 4:23-cv-04155
14   PRISONERS; et al.,
                                                      JOINT NOTICE REGARDING
15                       Plaintiffs,                  PROPOSED INTERVENORS’
                                                      MOTION TO UNSEAL COURT
16                                                    RECORDS AND PROTECT
                         v.                           ACCESS TO COURT
17                                                    PROCEEDINGS (DKT. NO. 317)
     UNITED STATES OF AMERICA; UNITED
18   STATES OF AMERICA FEDERAL BUREAU OF
19   PRISONS, et al.,                                 Judge: Yvonne Gonzalez Rogers
                                                      Date: July 30, 2024
20                       Defendants.                  Time: 2:00 p.m.
                                                      Courtroom: 1 (Fourth Floor)
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     JOINT NOTICE REGARDING PROPOSED INTERVENORS’ MOTION TO UNSEAL
     COURT RECORDS AND PROTECT ACCESS TO COURT PROCEEDINGS               Case No. 4:23-cv-04155
             Case 4:23-cv-04155-YGR Document 351 Filed 07/23/24 Page 2 of 4




 1          Following a meet-and-confer between counsel for Federal Defendants and counsel for Proposed

 2 Intervenors (together, “the Parties”), Federal Defendants have agreed that additional documents should be

 3 unsealed. The Parties’ updated positions on individual sealing requests are included in Exhibit 1.

 4          Broadly, Federal Defendants agree that all motions to seal and declarations in support of motions

 5 to seal were improperly filed under seal and should be unsealed. Federal Defendants also agree that, to

 6 the extent the Court unseals any of its Orders, documents responsive to sealed orders can be unsealed with

 7 redaction of personal identifying information. Federal Defendants take no position on whether any Court

 8 orders should be unsealed.

 9          The sealing of the following documents remains in dispute for the reasons originally identified in

10 the Parties’ briefing: Dkt. Nos. 45-4, 45-5. As previously stated, Proposed Intervenors cannot assess

11 whether underlying documents should be unsealed without seeing the motion to seal (Dkt. No. 45).

12          Further, the sealing of the following documents remains in dispute because Federal Defendants

13 now assert that there are new compelling interests in sealing that outweigh the public’s right of access:

14 Dkt. Nos. 159-3, 172-2, 176-3, 176-4, 176-5, 184-3, 184-4, 184-5, 197-3, 197-6, and 206-3. As to these

15 documents, Proposed Intervenors take the position that Federal Defendants must file renewed

16 administrative motions to seal that “point to ‘compelling reasons’ supporting sealing, supported by

17 specific factual findings.” Forbes Media LLC v. United States, 61 F.4th 1072, 1081 (9th Cir. 2023) (citing

18 Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)).

19          The Parties seek the Court’s guidance on how to proceed with refiling documents that no longer

20 require sealing. As an initial step, the Parties propose that the Court order the unsealing of documents

21 Federal Defendants agree no longer need to remain sealed. A proposed order outlining this approach is

22 attached.

23          With regard to oral argument scheduled for July 30, 2024, Federal Defendants note that they do

24 not oppose Proposed Intervenors’ motion to intervene, and believe it can be granted without argument.

25 However, Federal Defendants respectfully request additional time to prepare renewed administrative

26 motions to seal, and request that the Court postpone any hearing on Proposed Intervenors’ requests to

27 unseal for at least 21 days, or until the documents identified in Exhibit 1 have been unsealed, and all

28 renewed administrative motions to seal have been filed.

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     COURT RECORDS AND PROTECT ACCESS TO COURT PROCEEDINGS                             Case No. 4:23-cv-04155
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 1          Proposed Intervenors reiterate their request that the Court consider and rule on their motions

 2 promptly to avoid irreparable harm, which includes ruling on Proposed Intervenors’ Motion to Intervene,

 3 Dkt. No. 316, and requests to (1) unseal sealed court orders and trial transcripts; (2) issue orders

 4 articulating the legal and factual basis for sealing when the Court determines sealing is necessary and

 5 appropriate; (3) enter minute orders for all closed hearings held between April 15, 2024 and May 8, 2024;

 6 and (4) consistent with any unsealing of material previously requested sealed by Federal Defendants, order

 7 the related unsealing of any documents filed under seal by Plaintiffs. See Dkt. No. 317. As discussed in

 8 Proposed Intervenors’ Motion to Unseal, “a necessary corollary of the right to access is a right to timely

 9 access.” Courthouse News Serv. v. Planet, 947 F.3d 581, 594 (9th 2020). And where the right of access is

10 grounded in the First Amendment, as it is here, “[e]ach passing day” without access to records “may

11 constitute a separate and cognizable infringement of the First Amendment.” Lugosch v. Pyramid Co. of

12 Onondaga, 435 F.3d 110, 126 (2d Cir. 2006) (alternation in original) (holding that a court’s delay in ruling

13 on a motion to intervene and unseal records was “effectively a denial of any right to contemporaneous

14 access” that infringed on First Amendment rights).

15          Dated: July 23, 2024
                                                   Respectfully submitted,
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17                                                 U.S. ATTORNEY’S OFFICE
                                                   DISTRICT OF MONTANA
18

19                                                By: /s/ Madison L. Mattioli
                                                      Madison L. Mattioli, Assistant U.S. Attorney
20
                                                      Attorneys for Federal Defendants
21

22                                                PUBLIC JUSTICE
23

24                                               By:    /s/Jaqueline Aranda Osorno
                                                       Jaqueline Aranda Osorno
25                                                     Attorneys for Proposed Intervenors

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     JOINT NOTICE REGARDING PROPOSED INTERVENORS’ MOTION TO UNSEAL
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              Case 4:23-cv-04155-YGR Document 351 Filed 07/23/24 Page 4 of 4




 1                                       SIGNATURE ATTESTATION

 2           Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer hereby attests that all signatories listed above,

 3 and on whose behalf this filing is submitted, concur in the filing’s content, and have authorized the

 4 filing.

 5
     DATED: July 23, 2024                          U.S. ATTORNEY’S OFFICE
 6                                                 DISTRICT OF MONTANA
 7

 8                                                 By: /s/ Madison L. Mattioli
                                                       Madison L. Mattioli
 9

10                                                 Attorneys for Federal Defendants

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12                                                 PUBLIC JUSTICE
13

14                                                 By: /s/Jaqueline Aranda Osorno
                                                       Jaqueline Aranda Osorno
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                                                   Attorneys for Proposed Intervenors
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     COURT RECORDS AND PROTECT ACCESS TO COURT PROCEEDINGS                                Case No. 4:23-cv-04155
